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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                              Plaintiff,      :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :       ORDER
 SAULREALISM LLC et al.,                                      :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an evidentiary hearing was held on April 20, and April 21, 2022, in

connection with Plaintiff’s motion for a preliminary injunction. For the reasons stated at the

hearing, it is hereby

        ORDERED that by April 22, 2022 at 2:00 p.m., the parties shall file a joint letter stating

whether the Court should reserve judgment on Plaintiff’s motion to allow the parties to jointly

retain an independent expert to provide a report in this action. The letter shall describe how the

expert would be selected and retained, the scope of the expert’s work and estimated duration of

the expert’s review. It is further

        ORDERED that the Temporary Restraining Order dated March 25, 2022, shall remain in

effect pending a ruling on Plaintiff’s motion for a preliminary injunction.

Dated: April 21, 2022
       New York, NY
